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        AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A COMPLAINT

       I, Postal Inspector Kyle Shadowens, being first duly sworn, state:

                                       INTRODUCTION

       1.      I make this affidavit in support of a criminal complaint establishing probable cause

for the arrest of Lola Shalewa Barbara KASAL! for committing the following offenses in the

Southern District of Texas between June 2020 and the present:

            a. 18 U.S.C. § 1014, False Statements to a Financial Institution;

            b. 18 U.S.C. § 1343, Wire Fraud;

            c. 18 U.S.C. § 1344, Bank Fraud; and

            d. 18 U.S.C. § 1957, Engaging in Prohibited Monetary Transactions.

       2.      As described below, there is probable cause to believe that KASAL! committed the

above-listed offenses in connection with a bank and wire fraud scheme targeting the Paycheck

Protection Program ("PPP"), a program created to address the economic fallout of the COVID-19

pandemic by providing forgivable loans to small businesses.

                                   AGENT BACKGROUND

       3.      I am employed as a federal law enforcement officer by the United States Postal

Inspection Service. I have been employed as a federal law enforcement officer since 2013, and I

am currently assigned to the Financial Crimes/Mail Fraud team in the Houston Division of the

United States Postal Inspection Service. I am responsible for conducting and have conducted many

investigations into fraud, identity theft, and related "white collar" offenses. I have been licensed

as an attorney by the State Bar of Texas since 2010, and I am a Certified Fraud Examiner. I have

received training in how to investigate numerous Postal crimes, but primarily those involving
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identity theft, mail fraud, wire fraud, bank fraud, and related "white collar" offenses. I am

authorized to obtain and execute Federal Arrest and Search Warrants.

       4.      The information presented in this affidavit is based on my own personal

investigation and the investigation of other law enforcement officers, which was communicated to

me orally or via written communication. The facts set forth do not constitute all that has been

learned in the course of the investigation but only enough to establish that probable cause exists

for the issuance of a complaint and arrest warrant for KASAL!.

  OVERVIEW OF THE SCHEME AND THE PAYCHECK PROTECTION PROGRAM

                         Overview of the Paycheck Protection Program

       5.      The Coronavirus Aid, Relief, and Economic Security ("CARES") Act is a federal

law enacted in or around March 2020 and designed to provide emergency financial assistance to

the millions of Americans who are suffering the economic effects caused by the COVID-19

pandemic. One source of relief provided by the CARES Act was the authorization of up to $349

billion in forgivable loans to small businesses for job retention and certain other expenses, through

a program referred to as the Paycheck Protection Program ("PPP"). In or around April 2020, up

to $310 billion in additional PPP funding was authorized by Congress.

       6.      The PPP allows qualifying small businesses and other organizations to receive

loans with a maturity of two years and an interest rate of 1%. PPP loan proceeds must be used by

businesses on payroll costs, interest on mortgages, rent, and utilities. The PPP allows the interest

and principal to be forgiven if businesses spend the proceeds on these expenses within a set period

of time and use a certain portion of the PPP loan funds towards payroll expenses. The amount of

PPP funds a business may receive is determined by the number of employees employed by the




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business and their average payroll costs for a period of eight weeks. Businesses applying for a

PPP loan must provide documentation showing their payroll expenses.

       7.      The PPP is overseen by the Small Business Administration ("SBA"). Individual

PPP loans, however, are issued by private approved lenders (most commonly, banks and credit

unions), who receive and process PPP applications and supporting documentation, and then make

loans using their own funds. To date, over 4,900 lending institutions have participated in the PPP.

    OVERVIEW OF THE SCHEME AND IDENTIFICATION OF RELEVANT PARTIES

                                     Overview of the Scheme

        8.     As described in detail below, investigators believe that KASAL! transmitted at least

two fraudulent PPP loan applications to lenders. One of these was funded for over $1.9 million,

but the loan money was not used for any purpose permitted by the PPP.

                        Identification ofRelevant Individuals and Entities

       9.      Lola Shalewa Barbara KASAL! is a resident of Houston, in the Southern District

of Texas. KASAL! purports to be the owner of an entity called Lola's Level, and another called

Charm Hair Extensions. 1 According to the entity's website, Lola's Level is principally engaged

in selling hair extensions and related products. Charm Hair Extensions is purportedly engaged in

a similar line of business.

       10.     Lola's Level, LLC, is an entity first registered with the Texas Secretary of State on

August 7, 2020. KASAL! is the registered agent of Lola's Level, LLC.

       11.     Charm Hair Extensions purports to be an entity conducting business in Texas.




1On the PPP application and supporting documentation, the businesses are called simply "Lola's
Lev.el" and "Charm Hair Extensions." No corporate form is specified for either entity.


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       12.     Bank 1 is based in Boston, Massachusetts. It is a federally insured financial

institution and a member of the Federal Home Loan Bank System. Bank 1 is an approved SBA

lender and has participated as a lender in the PPP. Bank 1 received a PPP loan application on

behalf of Lola's Level.

       13.     Bank 2 is based in Lubbock, Texas. It is a federally insured financial institution

and a member of the Federl;ll Home Loan Bank System. Bank 2 is an approved SBA lender and

has participated as a lender in the PPP. Bank 2 received a PPP loan application on behalf of Charm

Hair Extensions.

                                     PROBABLE CAUSE

                             The Lola's Level Application to Bank 1

       14.     According to information received by Bank 1, on or around June 27, 2020, a PPP

loan application was submitted to Bank 1 on behalf of Lola's Level (the "Bank 1 PPP

Application"). The Bank 1 PPP Application requested a PPP loan of $1,937,500.

       15.     The primary contact listed on the Bank 1 PPP Application is Lola KASAL!.

       16.     Investigation has revealed that numerous statements on the Bank 1 PPP Application

appear to be false and suspicious.

       17.     On the Bank 1 PPP Application, the applicant claims that Lola's Level has 8

employees and an average monthly payroll of $775,000. However, investigation indicates Lola's

Level actually has no employees, no payroll, and no reported revenue.

       18.     By rule, Texas employers must submit reports of wages paid to the Texas

Workforce Commission ("TWC"). Employers in Texas must also provide information about

newly hired workers to the TWC within 20 days of hiring. Further, all Texas employers must




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establish an unemployment tax account with the TWC. State law requires that employers in Texas

pay unemployment tax on each eligible employee.

       19.     Records from the TWC indicate that Lola's Level has never reported any wages for

any employee. These records also show that Lola's Level has never reported a hire, nor has Lola's

Level ever paid any unemployment tax. The fact that Lola's Level has never reported any wages

or any new hires to the TWC leads investigators to believe that Lola's Level has never paid any

wages to anyone and has never hired an employee.

       20.     Furthermore, the claimed wages on the Bank 1 PPP Application are suspiciously

high. The average monthly payroll-$775,000 for 8 employees-equates to average wages of

$96,875 per month per employee. This translates to an average annual salary of $1,162,500 per

employee.

       21.     Additionally, records were obtained from the Texas Comptroller of Public

Accounts ("Texas Comptroller") relating to Lola's Level. The Texas Comptroller is the chief tax

collector for the State of Texas and maintains information regarding :franchise tax liabilities of all

entities registered to conduct business in Texas. Further, Texas Comptroller records identify

whether an entity reported revenue in a given year, whether an entity has the right to transact

business in Texas, and whether an entity is registered with the Texas Secretary of State.

       22.     Texas Comptroller records reveal that KASAL! registered Lola's Level, LLC, with

the Texas Secretary of State on August 7, 2020. Because of this recent business formation date,

Lola's Level, LLC, has not yet submitted any franchise tax information to the Texas Comptroller,

nor has Lola's Level, LLC, yet reported any revenue.

       23.     Lola's Level does not appear to have a physical business location. The Bank 1 PPP

Application lists a supposed business address on South Dairy Ashford Road in Houston, Texas.




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This address corresponds to a residential apartment and is listed as KASAL!'s personal address on

the Texas driver license submitted in support of the Bank 1 PPP Application. On Texas

Comptroller documents, the mailing address for Lola's Level is listed as 9476 Highway 6 South

#234, Houston, Texas 77083-6307. This is an address for a mailbox at a UPS store. The website

for Lola's Level provides only a post office box.

       24.     The supporting documentation submitted in connection with the Bank 1 PPP

Application also bears indicia of fraud.

       25.     The supporting documents include four 2019 IRS Forms 941, which are an

employer's quarterly federal tax return for 2019. The address on these forms is the same apartment

on Dairy Ashford Road listed on the Bank 1 PPP Application.

       26.     The four Forms 941 variously claim that Lola's Level had 5, 8, 9, and 10

employees. They also claim quarterly wages ranging between $1,453,125 and $2,906,250.

However, records confirm that Lola's Level did not actually file any Forms 941 with the IRS in

2019. Furthermore, the TWC has no record of Lola's Level ever hiring an employee or paying

wages to anyone.

       27.     These four Forms 941 are also incomplete. All four forms are unsigned, undated,

and leave blank certain other necessary sections.

       28.     Further, the Forms 941 are completed incorrectly. For instance, the Form 941 for

the first quarter of 2019 claims that Lola's Level had nine employees and paid taxable social

security wages in the amount of $2,618,199.43. This cannot be correct. The maximum taxable

social security wage amount was $132,900 per employee annually in 2019. Thus, if Lola's Level

had nine employees, the maximum taxable social security wages for 2019 would have been




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$132,900 times nine, or $1,196,100. The Form 941 in question claimed more than twice this

annual maximum taxable wage amount in the first quarter of the year alone.

       29.     The three other Forms 941 submitted in connection with the Bank 1 PPP

Application contain similar misstatements.

       30.     On or about July 15, 2020, Bank 1 approved the Bank 1 PPP loan in the amount of

$1,937,500.

                 Disbursement and Use of the PPP Loan Funds from Bank 1

       31.     On July 20, 2020, the PPP loan proceeds of $1,937,500 were deposited into a

JPMorgan Chase Bank account ending in 6023, in the name of Lola Shalewa Barbara Kasali DBA

Lola's Level (the "6023 Account").

       32.     The 6023 Account does not appear to be associated with a business that has

$775,000 in monthly wages. In 2019-the first full year the account was open-the balance 'of

the 6023 Account never surpassed $2,200. For the majority of 2019, the 6023 Account had a daily

balance of less than $1,000. Between January and May 2020, the balance of the 6023 Account

never exceeded $3,000.

       33.     Bank records give no indication that payroll expenses were ever paid from the 6023

Account. Several electronic transfers were made from the account in 2019 and early 2020. The

majority of these transfers were in the amount of $300 or less, and investigators believe that most

of the payments were to KASAL! herself.

       34.     Likewise, the overall account activity for the 6023 Account does not suggest that

this account is connected to a multimillion-dollar business. For instance, between January and

May 2020, less than $6,500 was deposited into the 6023 Account, and less than $6,800 was

withdrawn from the 6023 Account.




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       35.      On July 21, 2020--one day after the PPP funds were deposited into the 6023

Account-KASAL! opened four additional bank accounts all in the name of "Lola Shalewa

Barbara Kasali DBA Lola's Level." These account numbers end in 6088 (the "6088 Account"),

6096 (the "6096 Account"), 0817 (the "0817 Account"), and 0825 (the "0825 Account"). On the

day they were opened, each of these accounts received a single transfer of funds from the 6023

Account. Specifically, these transfers were as follows:

             a. $250,000 was transferred from the 6023 Account to the 6088 Account;

             b. $687,000 was transferred from the 6023 Account to the 6096 Account;

             c. $500,000 was transferred from the 6023 Account to the 0817 Account; and

             d. $500,000 was transferred from the 6023 Account to the 0825 Account.

       36.      Evidence indicates that no additional funds were deposited into any of these four

accounts after July 21, and none of the funds were withdrawn.

       37.      There does not appear to be any legitimate business purpose for the 6088 Account,

the 6096 Account, the 0817 Account, or the 0825 Account. Records indicate that none of these

accounts have been utilized for any purpose at all except to receive a single transfer each from the

6023 Account.

       38.      On August 25, 2020, Judge Andrew M. Edison signed seizure warrants for all of

the funds in the 6088 Account, the 6096 Account, the 0817 Account, and the 0825 Account. Judge

Edison also signed a seizure warrant for up to $500 in the 6023 Account. These warrants were

executed, and the full loan amount of $1,937,500 has been recovered.

                     Tlte Cltarm Hair Extensions PPP Application to Bank 2




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       39.     According to information received by Bank 2, on or around June 30, 2020, a PPP

loan application was submitted to Bank 2 on behalf of Charm Hair Extensions (the "Bank 2 PPP

Application"). The Bank 2 PPP Application requests a PPP loan of $1,875,944.

       40.     The primary contact listed on the Bank 2 PPP Application is Lola KASAL!.

       41.     Investigation has revealed that numerous statements on the Bank 2 PPP Application

appear to be false and suspicious.

       42.     On the Bank 2 PPP Application, the applicant claims that Charm Hait Extensions

has 99 employees and an average monthly payroll of $750,378. However, as detailed below,

investigation indicates Charm Hair Extensions actually has no employees, no payroll, and no

reported revenue.

       43.     Investigation has revealed that Charm Hair Extensions is not registered with the

Texas Secretary of State. The Texas Comptroller has no records at all of Charm Hair Extensions.

       44.     Similarly, the TWC has no records pertaining to Charm Hair Extensions. The

absence of such records indicates that Charm Hair Extensions has never reported a hire, nor has

Charm Hair Extensions ever paid any unemployment tax. These facts lead investigators to believe

that Charm Hair Extensions has never paid any wages to anyone and has never hired an employee.

       45.     Charm Hair Extensions does not appear to have a physical business location. The

Bank 2 PPP Application lists a business address on South Dairy Ashford Road in Houston, Texas.

As mentioned in paragraph 23, above, this address corresponds to a residential apartment and is

listed as KASALI's personal address on the Texas driver license submitted in support of the Bank

2 PPP Application. This is also the address listed for Lola's Level on the Bank 1 PPP Application,

discussed above.




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       46.     The supporting documentation submitted in connection with the Bank 2 PPP

Application also bears indicia of fraud.

       47.     For example, the supporting documents include four 2019 IRS Forms 941 and one

2020 IRS Form 941. As mentioned above, these are an employer's quarterly federal tax returns.

The address on these forms is the same apartment on Dairy Ashford Road listed on the Bank 2

PPP Application.

       48.     The five Forms 941 variously claim that Charm Hair Extensions had between 96

and 99 employees.      They also claim quarterly wages ranging between $2,216,569.45 and

$2,277,549.47. Again, the TWC has no record of Charm Hair Extensions ever hiring an employee

or paying wages to anyone.

       49.     Although the five forms purportedly pertain to five different quarterly reporting

periods in 2019 and 2020, they are all dated June 26, 2020.

       50.     The supporting documents also include a purported IRS Form 940, which is an

employer's annual federal unemployment tax return. This document lists that Charm Hair

Extensions paid unemployment tax in Texas, but this is false. As mentioned above, Charm Hair

Extensions has never paid unemployment tax to the TWC.

       51.     Additionally, investigation indicates that Charm Hair Extensions did not have a

bank account until May 6, 2020, when KASAL! opened an account in the name of "Lola Kasali

DBA Charm Hair Extensions." There is no indication of business expenses or payroll expenses

being paid from this account.

       52.     The Bank 2 PPP Application was denied.

                                           CONCLUSION




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       53.     In total, evidence indicates that KASAL! received approximately $1,937,500 via

her submission of a false PPP application. The entity receiving the PPP funding does not appear

to have employees or to pay wages that are in any way consistent with the representations made in

the PPP application. Additionally, evidence indicates that none of the money has been used for

payroll expenses or for any other purpose authorized by the PPP. Evidence further indicates that

KASAL! submitted a second PPP application in which she sought $1,875,944 on behalf on another

entity that appears not to pay wages or have employees. This second application was denied.

       54.     Based on the foregoing, I submit that there is probable cause that, between June

2020 and the present, KASAL! committed the crimes identified in paragraphs l .a. through l .d.

Therefore, I request that a criminal complaint be issued, along with a warrant for KASALI' s arrest.




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